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                        DOCKET NO. 23-13628-D

         United States Court of Appeals
                                  for the

                        Eleventh Circuit


          DONALD WHIDDEN and MARGARITA WHIDDEN,

                                Appellants,

                                     v.

                 FEDERAL INSURANCE COMPANY,

                             Appellee.
           ___________________________________________

               ON APPEAL FROM FINAL JUDGMENT
             OF THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF FLORIDA
                 CASE NO. 8:21-CV-3012-SCB-AAS


                 APPELLANTS’ INITIAL BRIEF


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            Donald and Margarita Whidden v. Federal Insurance Company

                 CERTIFICATE OF INTERESTED PERSONS

      Pursuant to 11th Cir. R. 26.1-1(a)(2), Appellants hereby file this Certificate

of Interested Persons and Corporate Disclosure Statement as follows:

      1.      Bailie, Jeremy D. – counsel for Appellant (Plaintiff in the underlying

              action)

      2.      Bucklew, Hon. Susan C. – (District Court Judge)

      3.      Chang, David Y. – counsel for Appellee (Defendant in the underlying

              action)

      4.      Chubb Group Holdings, Inc.

      5.      Chubb INA Holdings, Inc.

      6.      Chubb, Ltd.

      7.      Corless Barfield Trial Group, LLC, trial counsel for Plaintiff

      8.      Corless, Theodore – trial counsel for Appellant (Plaintiff in the

              underlying action)

      9.      Daniel, Veronica N. – counsel for Appellee (Defendant in the

              underlying action)

      10.     Farrant, Laura F. – counsel for Appellee (Defendant in the underlying

              action)

      11.     Federal Insurance Company – Appellee (Defendant in the underlying

              action.)


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      12.     Lewis Brisbois Bisgaard & Smith, LLP, counsel for Appellee

              (Defendant in the underlying action)

      13.     McCoy, Mac R. – (Magistrate Judge)

      14.     Weber, Crabb & Wein, P.A. – counsel for Appellant (Plaintiff in the

              underlying action)

      15.     Weber, Timothy W. – counsel for Appellant (Plaintiff in the underlying

              action)

      16.     Whidden, Donald – Appellant (Plaintiff in the underlying action)

      17.     Whidden, Margarita – Appellant (Plaintiff in the underlying action)

      I hereby certify that no publicly-traded company or corporation has an interest

in the outcome of the appeal.




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              STATEMENT REGARDING ORAL ARGUMENT

      Appellants respectfully request oral argument as this case presents an issue of

Florida state law that is novel and of first impression in any appellate court, state or

federal. Florida law mandates certain basic insurance coverage for the protection of

its residents, including sinkhole coverage. Where an insured has purchased sinkhole

coverage, the policy is governed by Florida Statutes § 627.706. Interpretation of the

sinkhole statute requires consideration of the language of the statute, historical

amendments to the statute and the reasons for them, and ultimately an understanding

of the engineering and geological framework within which they operate. In the case

of Florida Statutes § 627.706(2)(k)(1), the Florida Legislature adopted the

“variances” (or tolerances) contained in third-party standards, ACI 117-90 and the

Florida Building Code, for determining whether “sinkhole activity” was the cause

of “structural damage” and therefore constituted “sinkhole loss” covered under the

policy. This case raises the proper interpretation of § 627.706(2)(k), AC 117-90, the

Florida Building Code, and, ultimately, their application by professional engineers

and geologists. Oral argument would substantially benefit the Court’s understanding

of the detailed regulatory framework and engineering issues involved.




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                       STATEMENT OF JURISDICTION

      This is an appeal from a final judgment of the United District Court for the

Middle District of Florida in a civil action. The district court had jurisdiction under

28 U.S.C. § 1332 based on diversity of citizenship. (Doc. 1). The district court’s

final judgment was entered on July 19, 2023, (Doc. 75), and the Whiddens timely

filed a Rule 59(e) motion (coupled with requests for relief under Rules 60(b)(1) and

60(b)(6)) on August 16, 2023, (Doc. 76), and an amended Rule 59(e) motion, (Doc.

82), which was finally disposed of on October 2, 2023. (Doc. 86) The Whiddens

timely filed their notice of appeal on October 31, 2023. (Doc. 87) This Court has

jurisdiction pursuant to 28 U.S.C. § 1291.




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                      STATEMENT OF THE ISSUES

    I.     Whether Florida Statutes § 627.706(2)(k)(1) adopted the finished
           floor tolerance of ½” over 10 feet contained in AC 117-90.

    II.    Whether Federal’s failure to consider, or exclude, a violation of
           the finished floor tolerance or sinkhole activity mandated
           summary judgment against it where Federal had the burden of
           proof on both structural damage and sinkhole activity.

    III.   Whether the district court erroneously presumed that Federal’s
           experts were correct and shifted the burden of proof to the
           Whiddens.

    IV.    Whether the district court erroneously determined the cause of
           the Whiddens’ loss to be due to deleterious soils where Federal
           failed to exclude sinkhole activity as a concurrent cause of loss.

    V.     Whether the district court erred in concluding that the Whiddens
           failed to present sufficient evidence of sinkhole loss occurring
           during the policy period.




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                       STATEMENT OF THE FACTS AND CASE

                                            Basic Facts

         Donald Whidden and Margarita Whidden (“the Whiddens”) resided at 4807

Culbreath Isles Road, Tampa, Florida and insured their home through Federal

Insurance Company (“Federal”). The property consisted of the main house, a

detached garage on a separate pad, and a swimming pool. After discovering cracks

in their foundation extending across the main house and a newly formed depression

in the ground near the house, the Whiddens submitted a claim to Federal seeking

benefits under their insurance policy.1

         Federal did not initially investigate the claim as a potential sinkhole loss.

Federal hired an engineering and consulting firm, J.S. Held LLC (“JS Held”), which

performed a Limited Structural Damage and Geotechnical Assessment and

concluded that insufficient compaction of the soils prior to construction, buried

construction debris, and the presence of a root ball from a removed palm tree

(collectively “deleterious soil conditions”) were the cause of raveling of the

overburden soils and hence differential settlement of the foundation. (Doc. 35-3).

         The Whiddens again raised concerns of sinkhole loss upon being notified of

J.S. Held LLC’s limited investigation. (Doc. 35-4). Under Florida Statutes §

627.706, which is incorporated verbatim into the Federal insurance policy (“Policy”)


1
    Italicized terms or expressions represent defined words within the Policy.


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covering the home, (Doc. 35-1), coverage for sinkhole loss exists when there is

structural damage caused by sinkhole activity. Specifically, the Policy provides

coverage for sinkhole loss, which means structural damage to the covered building,

including the foundation, caused by sinkhole activity. (Doc. 35-1 at 59)

Definitionally, there are two questions posed: (1) was there sinkhole activity; and

(2) did it cause structural damage? Under Florida law, the insurer bears the burden

of proof on both questions. See Mejia v. Citizens Prop. Ins. Corp., 161 So. 3d 576,

578 (Fla. 2d DCA 2014).

        In response, Federal advised its insureds that it had “retained a professional

engineer and/or professional geologist to conduct testing at the subject property to

determine the cause of the loss within a reasonable professional probability.” (Doc.

35-4 at 1). However, JS Held did not conduct testing to determine the cause of the

loss but instead issued a second report opining that the property had not sustained

structural damage within the meaning of the sinkhole statute and Policy and,

therefore, there could be no sinkhole loss. (Doc. 35-5) JS Held’s second report did

not address the presence or absence of sinkhole activity as a cause of the loss. (Doc.

35-5)

        The Whiddens, through counsel, formally demanded that Federal conduct a

proper structural damage evaluation and that it also perform a subsidence

investigation to determine the cause of the damage in accordance with Florida



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Statutes § 627.7072. (Doc. 35-6). Federal informed the Whiddens: (a) “[t]o

determine if the insured’s (sic) home has damage from sinkhole loss, we first must

determine if there is structural damage to the building as defined by the statute”; (b)

“[o]ur assessment concluded that Structural Damage as defined by Florida Statute §

627.706 did not exist”; and (c) “[t]herefore, because a Sinkhole Loss means

Structural Damage to the covered building, including the foundation, caused by

Sinkhole Activity, a Sinkhole Loss as defined within F.S. § 627.706 has not

occurred.” (Doc. 35-8).

      Despite denying the claim due to the absence of structural damage, and

without conducting testing for sinkhole activity, Federal advised: “[p]lease be

advised that in accordance with Florida Statutes 627.7072, Federal Insurance must

advise you at this time that the insureds have the right to demand testing by a

professional engineer or a professional geologist. Your demand for testing must be

communicated to us, in writing, within 60 days after your receipt of this letter.” (Doc.

35-9). Within a few weeks, the Whiddens’ counsel reiterated, in writing, the

Whiddens’ demand for additional geotechnical testing, noting that such a request

had already been made in his prior letter. (Doc. 35-10). After some deflection by

counsel for Federal, the Whiddens, through counsel, again stated: "My letter from

November came after you all claimed there was no structural damage, and included

a request to conduct a geotechnical investigation as required by the statutes. That



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was three months ago, and no action has been taken for that purpose. These delays

continue to be burdensome on my client, and I’d appreciate moving on the request

at your earliest convenience.” (Doc. 35-11)

      Although Federal acknowledged the statutory requirement to offer testing

upon request, and the Whiddens specifically requested it, Federal ultimately refused

to conduct the geotechnical subsidence investigation for sinkhole activity, choosing

instead to stand on its position that there was no structural damage. It explained, "I

have reviewed this claim with the engineer who inspected the loss and managers at

Chubb [Federal]. We have completed all geotechnical investigation required by the

statute and found no structural damage. This report has been sent to you along with

a coverage denial letter for the reported damage. At this time, it is Chubb’s opinion

that we have met all requirements of the Florida sinkhole statute.” (Doc. 35-11 at 2).

      Following Federal’s final denial and refusal to perform additional testing, the

Whiddens filed the instant lawsuit in state court, which was timely removed to the

district court by Federal. (Composite Doc. 1)

                                  Sinkhole Activity

      In their Amended Complaint, the Whiddens alleged that Federal “has not

completed a full geotechnical investigation as contemplated by the Policy and

Florida Statutes to determine whether sinkhole activity was a cause of any damage

to the insureds’ home. (Doc. 10, ¶ 17) Federal denied this allegation. (See Doc. 14,



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¶ 17) In its Rule 26(a)(2) disclosures, Federal listed three experts, Engineer Howard,

Geologist Hollingsworth, and Contractor Coughlin (“JS Held’s Consultants”). Prior

to the filing of this action, JS Held’s Consultants wrote, signed, and sealed three

reports (collectively referred to as the “JS Held Reports”), which were: (a) “Damage

Asssessment Report,” signed and sealed September 11, 2020, by Engineer Howard

and Geologist Hollingsworth (Docs. 27-10, 35-3); (b) “Supplemental Structural

Damage Assessment Report,” signed and sealed October 16, 2020 by Engineer

Howard and Geologist Hollingsworth (Docs. 27-11, 35-5); and (c) “Water Intrusion

Damage Assessment Report,” signed and sealed October 22, 2020 by Engineer

Howard alone (Doc. 27-12). None of the JS Held Reports addressed the presence or

absence of sinkhole activity.

      The first time sinkhole activity appeared in any report of the JS Held

Consultants was in the “Structural & Geotechnical Rebuttal Report,” signed and

sealed January 13, 2023 (Doc. 27-13), during the litigation and almost two years

after the claim was denied. The rebuttal expert report did not suggest that JS Held

Consultants investigated the presence or absence of sinkhole activity at the property.

It merely stated, “based upon our review of the SEI and PEC Reports, as well as our

own observations, analysis, research, it is our opinion that the conditions at the

[Insureds’ Home] do not evidence sinkhole activity.” (Doc. 27-13).




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      However, when JS Held Consultant, Mr. Howard, was pressed in his

deposition about sinkhole activity, he stated:

            Counsel:    So I’m going to ask you, sir, as of September of
      2021, did you ever advise any representative of Federal or Chubb that
      there was no sinkhole activity at the Insureds’ Home?

             Howard:      No.

             Counsel:     All right. Now – well let me polish that. Suffice to
      say, if [the Insurance Company] got that opinion it wasn’t from Mr.
      Howard?

             Howard:     That’s correct. That was never a part of our [i.e. JS
      Held’s] scope to determine the presence or absence of sinkhole activity
      at the site.

(Doc 27-13, Page 8, Lines 14-24). He was asked the ultimate question: “can you now

tell me that you are certifying the absence of sinkhole activity?” His answer: “No.”

(Doc. 27-13, Page 9, Lines 20-21). Mr. Howard further admitted that JS Held

Consultants never sought to eliminate sinkhole activity as a possible cause of the

damage:

             Counsel:     You’re familiar with the expression “concurrent

      cause”?

             Howard:      Yes.

            Counsel:       And if so I understand your answer correctly,
      you’ve identified what you believe to be a condition of deleterious or
      bad soil, we’ll call it, in the surficial soils; is that correct?

             Howard:      That’s correct.



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            Counsel:     And – but at the same time you admit you can’t
      eliminate sinkhole activity as a concurrent cause as well; is that an
      accurate statement?

             Howard:       Well, within the limits of our scope and our
      investigation, that’s an accurate statement, yes. I can’t say we can’t
      eliminate it (sic) but weren’t asked to and weren’t authorized to do that
      additional testing.

(Doc. 27-13 at 22, Lines 10-25; Page 23, Line 1). He says, “we considered whether

or not the conditions were consistent with or representative of what we would expect

to see if there were sinkhole activity. But, no, [JS Held] did not drill to go verify the

presence or absence of sinkhole at the site.” (Doc. 27-13, at 20).

      The Whiddens produced a report from SEI, a geotechnical engineering firm,

which included statutorily-compliant testing and analysis of sinkhole activity. The

SEI report concluded that sinkhole activity was present and contributing to the

Whiddens’ loss. In Federal’s Rebuttal Report, Howard dismissed the report, stating,

“conditions such as diminishing N-Values, WOH and LOC events, and disruptions

in the soil column can be indicative of, but are not exclusive to, sinkhole formation.”

(Doc. 27-13 at 12). While Howard did acknowledge evidence of cracks and

differential movement of the foundation, (Doc. 27-14 at 11, Lines 2-11), according

to him the JS Held Consultants were never asked by Federal to eliminate the

presence or absence of sinkhole activity as a cause of the damage. (Doc. 27-14 at 16,

Lines 18-24).




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      Given that the definition of sinkhole activity in the Policy requires an

examination regarding the “dissolution of limestone, or other similar rock

formation,” (Doc. 27-2 at 76), Mr. Howard was questioned on JS Held Consultant’s

analysis of the underground limestone conditions:

             Counsel:     Can you testify now [as of January 17, 2023] within
      a reasonable degree of scientific certainty the condition of the limestone
      present at the [Insureds’ Home] based upon the JSH investigation?

             Howard:      If I understand your question correctly, the answer
      is no, I can’t.

(Doc. 27-14 at 20, Lines 9-14). Mr. Howard concluded by discussing what he or the

other JS Held Consultants would need in order to render an opinion regarding the

absence of sinkhole activity:

      [w]ell, there’d have to be some deep borings, such as, SPT borings,
      standard penetration borings to explore the soil conditions with depth
      near the limestone at multiple locations around the property, perhaps
      beneath the property, beneath the house.

(Doc. 27-14 at 21, Lines 14-21). As to whether they could now base opinions upon

the data collected by the Whiddens’ expert, Mr. Howard stated, “We did not get to

that stage in our analysis or our evaluation of the site conditions or the analysis of

the information provided by others.” (Doc. 27-14 at 16, Lines 6-10).

      In short, Federal never eliminated sinkhole activity as a concurrent cause of

the damage to the Whiddens’ home, particularly because it failed to perform

adequate subsidence testing in accordance with Florida Statutes §§ 627.707 and



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627.7072, despite specific request by the insureds that they do so on at least two

occasions.

                                 Structural Damage

      Federal stood on its conclusion that, regardless of cause, the home had not

suffered structural damage. Under the Policy, structural damage is defined as a

situation where a covered building, irrespective of its construction date, experiences

interior floor displacement or deflection that exceeds the acceptable variances

outlined by ACI 117-90 or the Florida Building Code. This displacement or

deflection results in settlement-related damage to the interior, rendering the building

structure or its components unfit for service or posing a safety hazard as specified in

the Florida Building Code. (Doc. 27-2 at 76) (emphasis added).

      Thus, the first step is to determine the "acceptable variances" as set by

ACI 117-90 or the Florida Building Code, without considering the

construction date.

                                  Bracken Affidavit

      The Whiddens submitted the Affidavit of William Bracken, which, after

detailing his extensive professional background, explained that he was the drafter of

Florida Statutes § 627.706(2)(k)(1) through (5), which was signed into law on May

17, 2011 by Governor Rick Scott. (Doc. 76-1 at 2) Mr. Bracken explained that in

2011 when the statute was drafted, neither the American Concrete Institute nor the



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Florida Building Code had original construction tolerances or design tolerances

(a.k.a “acceptable variances”) for cast-in-place concrete slabs on grade. (Doc. 76-1,

at 3). Instead, the Florida Building Code incorporated by reference the American

Concrete Institute’s “Specifications for Tolerances for Concrete Construction and

Materials” (ACI 117). (Doc. 76-1 at 4) However, at the time of drafting the statute

ACI 117 did not contain any original construction tolerances. (Doc. 76-1 at 4) The

last edition of ACI 117 to include original construction tolerances for cast-in-place

concrete slabs on grade was the 1990 edition of ACI 117 (ACI 117-90). (Doc. 76-1

at 4). It was for that reason that ACI 117-90 was referenced in the statute. (Doc. 76-

1 at 4).

       Bracken makes clear, however, that the statute only incorporated the original

construction tolerances set forth in ACI 117-90 and was purposefully not cited in

whole because ACI 117 only applied to new construction. (Doc. 76-1). Bracken

further explained that the method of measuring the tolerances (a 10-foot

straightedge) was similarly not incorporated into the statute as, by 2011, engineers

were using gas levels and other instruments, such as the ZipLevel® system used by

both parties’ engineers in this case. (Doc. 76-1)

       Bracken further noted that he was the principal author of Minimum Testing

Guidelines for Evaluating Structural Damage in Buildings with Respect to Florida

Statute § 627.706, Florida Association of Sinkhole Stabilization Specialists



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(“FAS(3)”), SDA-13, October 2013. (Doc. 76-1 at 5) As Bracken noted, these

industry guidelines recognized the use of calibrated manometers, calibrated gas

levels, or equivalent apparatus for determining the levelness of a horizontal surface

in a sinkhole investigation. (Doc. 76-1 at 5). Bracken explained that in determining

interior floor displacement or deflection in excess of “acceptable variances”, the

adopted variances included (1) an overall floor levelness requirement of + ¾ inch

over the entire surface of the concrete slab on grade (ACI 117-90 Section 4.3.1.1)

and (2) a floor finish variance where the gap between the floor and a 10-foot

straightedge placed on two high spots was in excess of ½ inch (ACI 117-90 Section

4.5.7). According to Bracken, a proper structural damage analysis under the statute

requires consideration of both tolerances. (Doc. 76-1 at 5)

      Notably, at the time JS Held Consultants were conducting their structural

damage analysis on the Whiddens’ home, Bracken was the Executive Vice-President

for Forensic Architecture and Engineering at J.S. Held LLC. (Doc. 76-1 at 13).

             JS Held Consultant’s Investigation of Structural Damage

      Mr. Howard, despite acknowledging the ½ inch tolerance under ACI 117,

believed that the standard applied exclusively to newly poured concrete foundations

and not sinkhole claims on existing slab construction. (Doc. 27-14 at 28) He pointed

to ACI 117, Section 4.5.7, specifying the floor finish tolerance involving a 10-foot

straight edge, noting that the measurement should be taken "within 72 hours after



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slab concrete placement." (Doc. 27-14 at 28) He made this and other arguments in

his deposition as to why this tolerance should not be used, despite the language of

the statute “irrespective of its construction date.” (Doc. 27-14 at 28-31) Thus, he did

not apply this standard in his analysis. (Doc. 27-14 at 32-33) (arguing that localized

unlevelness should not be considered in a sinkhole claim). Notably, Mr. Howard

argued that structural damage could not be found where there was a large slope in

the slab going to its edge (such as the .9 inches of deflection over 8 feet in the

Whiddens’ dining area). Under his analysis, it was only where a 10-foot straight

edge could be positioned on two high points and reveal a sink in the middle that the

standard would be met. (Doc. 27-14 at 31)2 Of course, JS Held Consultants never

used a 10-foot straight edge anywhere on the property, choosing instead to ignore

the standard altogether.

      Plaintiff’s expert witness, Byron Anderson, a professional engineer and

licensed general contractor, opined that JS Held Consultant’s investigation was

inadequate in that JS Held only considered the overall floor levelness requirement

in Section 4.3.1.1 of ACI 117-90 and disregarded the floor finish requirement of

Section 4.5.7 requiring analysis of a ½ inch gap between a finished floor and a 10-



2
  A 10-foot straightedge cantilevered from one high point to the edge of a slab would
not, in his opinion, be a means of showing deflection. Thus, under Mr. Howard’s
interpretation, only sinkholes occurring in the middle of the slab and not around the
edges could be covered.

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foot straightedge on two high points. (Doc. 76-2 at 2). His affidavit was consistent

with Bracken’s affidavit as to the applicability of both requirements. Engineer

Anderson pointed out that, from the data collected by both parties’ experts, multiple

floor elevation surveys show greater than .5 inches of deflection in 10 feet. (Doc.

76-2 at 3).

                     Daubert and Summary Judgment Motions

      The Whiddens filed a motion challenging the expert testimony of Mr. Howard

on the grounds that he could not opine on the presence or absence of sinkhole activity

absent the performance of sinkhole testing in accordance with Florida Statute. They

also argued that his opinion on structural damage should be excluded as he failed to

apply both tolerances in ACI 117-90. The Whiddens also sought summary judgment

against Federal on the grounds that Federal had the burden of proof on both issues

under this all-risk policy and that it could neither eliminate sinkhole activity as the

cause of the damage nor exclude structural damage based upon its incomplete

investigation. The Whiddens argued that both parties’ experts, using a gas level,

noted floor deflections greater than ½ inch over 10 feet.

      Federal sought summary judgment, arguing that the Whiddens failed to “meet

their burden of showing that the property was damaged by the covered peril of

sinkhole loss.” (Doc. 35, at 1). Federal argued that the Whiddens had the burden of

proof on sinkhole loss under the Policy and that they failed to adduce sufficient



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evidence of structural damage or sinkhole activity. (Doc. 35, at 13). Federal also

argued that the Whiddens failed to adduce proof of a loss during the Policy period.

(Doc. 35, at 13). Federal argued that only the overall levelness requirement of ACI

117-90, 1.5 inches over the entire slab, applied to the Whiddens’ home and that the

measurements of both parties’ experts showed it was met. (Doc. 35 at 17-22).

Federal interpreted § 627.706(2)(k)(1) to only include one tolerance, not two. Thus,

it asked the district court to ignore the ½ inch gap between the floor and a 10-foot

straightedge contained in ACI 117-90, as well as the l/240 formula derived by

Plaintiff’s expert, Mr. Smith, from the Florida Building Code. Federal argued that

none of these standards applied.

             The District Court’s Order Granting Summary Judgment

      The district court granted summary judgment to Federal and denied the

Whiddens’ motion for summary judgment. In its order, the district court concluded

that JS Held Consultants conducted sufficient testing to determine the presence or

absence of sinkhole loss or other cause of damage. (Doc. 71, at 7 fn. 6). It cited that

the vertical differential of the measured slab was 1.3 inches, less than the 1.5 inch

maximum in ACI 117-90. The district court concluded that the Florida Statutes did

not require a subsidence investigation to determine the presence of sinkhole activity.

(Doc. 71, at 9-10) It specifically cited to Florida Statutes § 627.7073(1)(c) providing

that “[t]he respective findings, opinions, and recommendations of the insurer’s



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professional engineer or professional geologist as to the cause of distress to the

property . . . shall be presumed correct.” (Doc. 71, at 10). The district court faulted

Plaintiffs for not presuming the correctness of the JS Held Consultants. (Doc. 71, at

10). The district court found that the Whiddens had not come forward with any

evidence to rebut the JS Held Consultants’ findings that the property did not sustain

structural damage (and hence no sinkhole loss). (Doc. 71 at 14). The district court

concluded that the Whiddens’ expert, Smith, did not use a 10-foot straight edge to

measure gaps in the floor exceeding ½ inch and that the l/240 standard derived from

the Florida Building Code was inapplicable. (Doc. 71 at 18). The district court

concluded that the Whiddens’ expert incorrectly interpreted the statute to require

consideration of the ½ inch gap standard of ACI 117-90 or the l/240 formula from

the Florida Building Code. (Doc. 71 at 20)

       In addition, the district court concluded that JS Held Consultants had

determined the actual cause of loss at the Property to be deleterious soils, despite the

admissions by Federal’s experts that they could not rule out sinkhole activity as a

concurrent cause of loss because they had performed no testing. (Doc. 71, at 23).

       The district court denied both parties’ Daubert motions. (Doc. 71, at 25 fn

15).

                    The Whiddens’ Rule 59(e) and 60(b) Motions




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      The Whiddens timely filed a Rule 59(e) motion, coupled with requests for

relief under Rule 60(b)(1) and 60(b)(6). (Doc. 82) The Whiddens pointed out that

the district court failed to consider the ½ inch gap under a 10-foot straightedge

tolerance in ACI 117-90, or its equivalency of l/240 (10 feet is 120 inches and where

l is ½” the denominator would be 240). The Whiddens argued that Florida Statutes

§ 627.706(2)(k)(1) only adopted the tolerances or variances contained in ACI 117-

90 and the Florida Building Code and not the means of measurement. (Doc. 82 at 1).

The Whiddens relied upon the Bracken affidavit which unambiguously explained

why the ½ inch gap under a 10-foot straightedge standard applied and that it was

error for the district court to ignore part of the statutory standard under the first

criterion for structural damage. (Doc. 82 at 1-6). The Whiddens next argued that it

was improper for the district court to fault the Whiddens’ expert for using a gas

measurement tool (ZipLevel®) instead of a straightedge as the statute did not

incorporate the means of measurement, as explained by Bracken. (Doc. 82 at 6-9).

      The Whiddens also argued that the district court erred as a matter of law in

presuming the correctness of JS Held Consultants, despite two Florida Supreme

Court opinions holding that the statutory presumption had no application, See

Johnson v. Omega Ins. Co., 200 So.3d 1207, 1214 (Fla. 2016) (“it is clear that the

court below acted in conflict with our decision in Warfel when it extended the

presumption of correctness to the initial insurance company report, which was



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incorrect, during litigation and placed a burden on Johnson to further rebut it”);

Universal Ins. Co. of N. America v. Warfel, 82 So. 3d 47, 57 (Fla. 2012) (“Nothing

in section 627.7073, the statute in question here, justifies application of that statute

to the litigation context”), and that the district overlooked Florida’s concurrent cause

doctrine which required Federal to rule out sinkhole activity as a contributing cause

of the loss. See Citizens Property Ins. Corp. v. Salkey, 260 So.3d 371 (Fla. 2d DCA

2018) (applying Florida’s concurrent cause doctrine and placing burden on insurer

to prove that no loss was caused by sinkhole, despite existence of deleterious soils).

      The Whiddens argued that the district court improperly weighed the

conflicting expert testimony and erroneously interpreted Florida’s sinkhole statutes

in several respects. The district court denied the motion.

      This appeal timely followed.

                       SUMMARY OF THE ARGUMENT

      Under Florida law, an “all-risk” homeowner’s policy insures against all risks

unless unambiguously excluded by the insurer. The insurer bears the burden of proof

on any exclusion from coverage. In the context of sinkhole loss coverage, which is

highly regulated by the Florida Legislature for the protection of insureds, the insurer

bears the burden of establishing that damages to the insured’s home did not rise to

the level of structural damage, as defined by the statute, and that such damages were

not caused, even in part, by sinkhole activity.



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      Federal did not conduct testing sufficient to eliminate sinkhole activity as a

concurrent cause of the Whiddens’ loss. On the issue of whether the damage to the

Whiddens’ home was structural damage, Federal failed to evaluate the property

using both tolerances or variances contained in ACI 117-90, the standard adopted by

Florida Statutes § 627.706(2)(k)(1). Federal’s expert simply disagreed with using

one of the “acceptable variances” incorporated into the statute. Since Federal failed

to evaluate structural damage using the correct statutory criteria, Federal could not

meet its burden of excluding coverage based on the absence of structural damage.

      The district court’s order granting summary judgment to Federal was based

on multiple mistakes concerning Florida’s sinkhole statutes and law. First, the

district court presumed that Federal’s experts were correct, citing Florida Statutes §

627.7073(1)(c). The Florida Supreme Court has twice held that courts err when they

apply the presumption contained in § 627.7073 in the context of sinkhole litigation.

Second, the district court erred in determining the cause of the Whiddens’ loss when

it was undisputed that Federal failed to exclude sinkhole activity as a concurrent

cause of loss. Federal’s experts admitted they had not performed standard

penetration boring or other sufficient measures to eliminate sinkhole activity as a

concurrent cause of loss. Absent elimination of a covered loss as a concurring cause,

the district court could not, as a matter of law, conclude that the Whiddens’ losses

were from uncovered causes. Third, the district court adopted Federal’s position by



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itself ignoring the second tolerance in ACI 117-90. As a result, it concluded that no

structural damage was present based solely on the first tolerance. Such a conclusion

is erroneous as a matter of law where the statute contained two tolerances. Fourth,

the district court shifted the burden of proof to the Whiddens and ignored Federal’s

failure to meet its burden.

      Correct application of Florida’s sinkhole statutes, burden of proof, and

concurrent cause doctrine mandated summary judgment in favor of the Whiddens

on coverage. At the very least, the battle of the parties’ experts presented a question

of fact for jury resolution regarding when the loss occurred, the cause of the loss,

and whether it constituted structural damage. It was error for the district court, in

combination with its application of an erroneous presumption and shifting of the

burden of proof, to resolve all disputed facts and inferences in favor of Federal in

granting it summary judgment.

      This Court should reverse.

                                   ARGUMENT

      I.     IN THIS FLORIDA SINKHOLE COVERAGE CASE, THE
             DISTRICT COURT FAILED TO CONSIDER BOTH
             TOLERANCES     INCORPORATED     INTO  FLORIDA
             STATUTES SECTION 627.706(2)(K)(1) IN GRANTING
             SUMMARY JUDGMENT TO FEDERAL. FEDERAL’S
             FAILURE TO CONSIDER BOTH TOLERANCES
             VIOLATED     FLORIDA’S   SINKHOLE     TESTING
             REQUIREMENTS.




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      The JS Held Consultants only considered the overall floor levelness tolerance

of 1.5 inches (+ ¾ inch over the entire slab) contained in ACI 117-90. Adopting its

opinions and investigation, the district court only considered the overall floor

levelness tolerance of 1.5 inches contained in ACI 117-90. The district court

dismissed the second tolerance in ACI 117-90 by noting that the Whiddens’ engineer

“did not measure with a 10-foot straight edge.” (Doc. 71, at 17). Of course, the

district court conveniently overlooked that Federal “did not measure with a 10-foot

straight edge” either. Despite Federal having the burden of proof to show the absence

of structural damage, and despite Federal wholly failing to address the second

tolerance in ACI 117-90, the district court found that JS Held Consultants had

conducted a complete investigation and appropriately determined the absence of

structural damage. This was error.

      The district court compounded its error by ignoring data suggesting the

presence of floor deflection in excess of ½ inch over 10 feet in multiple areas,

including the dining room and front entry, as documented in the data of both parties’

experts. This data, which was unrebutted, establishes that structural damage within

the meaning of Florida Statutes § 627.706(2)(k)(1) was present. JS Held

Consultant’s opinions, which did not consider the second tolerance, failed to rebut

the undisputed evidence of floor deflection in important areas, such as the entry and




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dining room, that would constitute, in the opinions of the Whiddens’ engineers, a

safety hazard.

      The district court correctly quoted ACI 117-90 in its opinion but failed to

consider the second tolerance. Instead, the district court seized on to a red herring,

Mr. Smith’s use of the formula l/240 from the Florida Building Code and its

purported application only to elevated flooring systems. Despite Smith’s opinion

that ½ inch over 10 feet was the equivalency of l/240 (which it is), the fact remains

that the floor was deflected in excess of the acceptable tolerance contained in ACI

117-90 that Federal chose to ignore.

      The purpose of the Legislature’s adoption of sinkhole testing standards and

minimum deflection limits was to codify the requirements of sinkhole coverage in

Florida. Where, as here, the finished floor of a slab on grade was deflected in

excess of adopted tolerances, it was simply error for the district court to conclude

that the Whiddens’ home had not suffered structural damage and hence covered

sinkhole loss. It was not the prerogative of Engineer Howard to disagree with the

standard adopted by the Legislature.

      This Court should reverse.

      II.    THE DISTRICT COURT ACTED CONTRARY TO LAW IN
             PRESUMING FEDERAL’S EXPERTS CORRECT

      The district court erroneously applied a presumption of correctness to the

findings, opinions, and recommendations of the JS Held Consultants based on


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Florida Statutes § 627.7073(1)(c) and faulted the Whiddens for failing to presume

the correctness of Federal’s investigation, despite evidence that JS Held Consultants

failed to apply both standards for structural damage and never performed testing

sufficient to eliminate sinkhole activity as a contributing cause of loss. Florida

Statutes § 627.7073(1)(c) provides:

      The respective findings, opinions, and recommendations of the
      insurer’s professional engineer or professional geologist as to the cause
      of distress to the property and the findings, opinions, and
      recommendations of the insurer’s professional engineer as to land and
      building stabilization and foundation repair set forth by s. 627.7072
      shall be presumed correct.

§ 627.7073(1)(c), Fla. Stat.

      In Universal Ins. Co. of N. America v. Warfel, 82 So. 3d 47, 57 (Fla. 2012),

the Florida Supreme Court held that the presumption in the statute had no application

in sinkhole coverage litigation, stating “[n]othing in section 627.7073, the statute in

question here, justifies application of that statute to the litigation context.” After

Florida’s Fifth Circuit Court of Appeal once again applied the presumption in

litigation to deny attorneys’ fees to a prevailing insured, the Florida Supreme Court

exercised its conflict jurisdiction and reversed, noting that “it is clear that the court

below acted in conflict with our decision in Warfel when it extended the presumption

of correctness to the initial insurance company report, which was incorrect, during

litigation and placed a burden on Johnson to further rebut it.” Florida courts have

commented that application of the presumption was both “misguided and


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inappropriate” and that “’the section 627.707(c) presumption in favor of the insurer’s

engineer’s report neither alters the fact of sinkhole damage nor forecloses litigation

that attempts to discover the fact of sinkhole damage.’” (quoting Herrera v. Tower

Hill Preferred Ins. Co., 161 So. 3d 565 (Fla. 2d DCA 2014) (citing Surrett v. First

Liberty Ins. Co., 2011 WL 3879515 (M.D. Fla. 2011) (Merryday, J.))).

      The district court’s opinion emphasized the statutory presumption in favor of

JS Held Consultant’s findings and conclusions and faulted the Whiddens for failing

to presume they were correct. The Whiddens case started out on an uneven playing

field, causing the district court to discount all of their experts and arguments when,

in fact, it should have been construing the evidence in the light most favorable to the

Whiddens. The district court clearly erred in recognizing a presumption and placing

any burden on the Whiddens to rebut it. This allowed the district court to ignore

Federal’s burden of proof and shortcomings in its analysis and evidence.

      III.   THE DISTRICT COURT ACTED CONTRARY TO LAW IN
             DECIDING THE CAUSE OF THE WHIDDENS’ LOSS
             WHERE IT WAS UNDISPUTED THAT FEDERAL COULD
             NOT EXCLUDE SINKHOLE ACTIVITY AS A
             CONCURRENT CAUSE OF LOSS, AN ISSUE UPON WHICH
             IT BORE THE BURDEN OF PROOF

      Under Florida law, Federal had the burden of proof to demonstrate that the

Whiddens’ loss was uncovered. Mejia v. Citizens Prop. Ins. Corp., 161 So. 3d 576,

578 (Fla. 2d DCA 2014). Specifically, Federal had the burden of proof to

demonstrate that the damage to the Whiddens’ home was not caused, even in part,


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by sinkhole activity. Citizens Prop. Ins. Co. v. Salkey, 260 So. 3d 371 (Fla. 2d DCA

2018). Where, as here, Federal’s engineers failed to perform standard penetration

borings to investigate the soil conditions near the limestone, Federal simply could

not eliminate or exclude sinkhole activity as a concurrent cause of loss. As JS Held

Consultant, Howard, testified:

             Counsel:     Can you testify now [as of January 17, 2023] within
      a reasonable degree of scientific certainty the condition of the limestone
      present at the [Insureds’ Home] based upon the JSH investigation?

             Howard:      If I understand your question correctly, the answer
      is no, I can’t.

(Exhibit M, Howard Deposition, Page 20, Lines 9-14). Engineer Howard identified

what he or the other JS Held Consultants would need in order to render an opinion

regarding the absence of sinkhole activity:

      [w]ell, there’d have to be some deep borings, such as, SPT borings,
      standard penetration borings to explore the soil conditions with depth
      near the limestone at multiple locations around the property, perhaps
      beneath the property, beneath the house.

(Exhibit M, Howard Deposition, Page 21, Lines 14-21). As to whether JS Held

Consultants had an opinion based upon the data collected by the Whiddens’ experts,

Howard testified, “[w]e did not get to that stage in our analysis or our evaluation of

the site conditions or the analysis of the information provided by others.” (Exhibit

M, Howard Deposition, Page 16, Lines 6-10). Howard explained, “That was never




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a part of our [i.e. JS Held’s] scope to determine the presence or absence of sinkhole

activity at the site.”

       In short, Federal and its experts excluded investigation of sinkhole activity

from the insurer’s investigation. Both before suit was filed, and at the summary

judgment, Federal relied solely on its conclusion of no structural damage and

possessed no evidence or ability to eliminate sinkhole activity as a concurrent cause

of the Whiddens’ loss.

       Thus, it was error for the district court to conclude that the actual cause of loss

was determined by JS Held Consultants. To the contrary, Federal’s failure to exclude

sinkhole activity as a concurrent cause of the damage, an issue on which Federal

bore the burden of proof, mandates a determination that the cause of the loss was a

covered cause, provided that structural damage was present. Summary judgment

should have been granted to the Whiddens on the issue of the cause of the loss.

Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986) (“the plain language of Rule

56(c) mandates the entry of summary judgment, after adequate time for discovery

and upon motion, against a party who fails to make a showing sufficient to establish

the existence of an element essential to that party's case, and on which that party will

bear the burden of proof at trial.”)

       IV.    AT MINIMUM, THE DISTRICT COURT ERRED IN
              WEIGHING DISPUTED EXPERT TESTIMONY ON
              SUMMARY JUDGMENT MANDATING REVERSAL



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       At the very least, the district court erred in weighing the expert testimony

presented by the parties concerning direct physical damage, the cause of loss, and

the existence of structural damage. The Whiddens’ experts clearly opined that

sinkhole activity was present and that the home had suffered structural damage. The

district court’s erroneous application of the statutory presumption, failure to consider

both tolerances in ACI 117-90, erroneous determination of the cause of loss, and

erroneous discounting of the opinions of Byron Anderson, P.E., caused the district

court to grant summary judgment despite legally sufficient evidence and inferences

that there was coverage under the Whiddens’ all-risk homeowner’s insurance Policy.

See Tower Hill Prime Ins. Co. v. Bermudez, 2023 WL 8246151 (Fla. 3d DCA 2023)

(“battle of the experts” concerning the cause of loss presented a question of fact for

the jury).

       Similarly, the district court’s conclusion that the Whiddens could not even

prove direct physical damage to their home during the Policy period was an improper

weighing of evidence as Maggie Whidden clearly articulated how the severe

cracking was first discovered during the Policy period along with a depression in the

ground outside the home that had not previously been there. (Doc. 35-14 53-54) She

stated, “it was just all of a sudden, all these things that I thought were just items that

needed to be fixed were called to my attention.” (Doc. 35-14 at 57-58) In addition,

Federal’s inspector had been at the home before renewing the Policy, (Doc. 35-14 at



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63-64); obviously the inspector did not notice a 16-foot crack in the floor before the

Policy began. A reasonable jury could conclude that the Whiddens presented

evidence sufficient to support a finding that their home suffered damage during the

Policy period.

      Accordingly, because there were, at the very least, disputed questions of fact

on the issue of coverage, this Court should reverse the summary judgment and

remand for a trial on the merits.

                                    CONCLUSION

      For the foregoing reasons, the Whiddens ask this Court to reverse the final

judgment, enter judgment in their favor, or, alternatively, reverse for a trial on the

merits. The Whiddens request such other and further relief as the Court deems

proper.




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                        CERTIFICATE OF COMPLIANCE

I HEREBY CERTIFY that:

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32(a)(7) because, excluding the parts of the brief exempted by FRAP 32(f), this brief

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32(A)(5) and the type-style requirements of FRAP 32(a)(6), in that it was prepared

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                                   _s/ Timothy W. Weber
                                   Timothy W. Weber, Esq.
                                   FBN: 86789




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      I HEREBY CERTIFY that a true and correct copy of the foregoing

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LLP 110 SE 6th Street, Suite 2600, Fort Lauderdale, Florida 33301, on this 10th day

of January, 2023.


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